Case 1:24-cv-02099 Document 1-3 Filed 11/22/24 Page 1 of 3 PageID# 155




           EXHIBIT 3
      Case 1:24-cv-02099 Document 1-3 Filed 11/22/24 Page 2 of 3 PageID# 156




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

SURGE TRANSPORTATION, INC.                       )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )    Case No. ________________
                                                 )
DIRECT CONNECT LOGISTIX, INC.                    )
                                                 )
and                                              )
                                                 )
MATTHEW R. MAY                                   )
                                                 )
        Defendants.                              )
                                                 )


          NOTICE TO PARTIES OF REMOVAL OF ACTION TO THE
 UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA

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        PLEASE TAKE NOTICE that on November 22, 2024, a Notice of Removal of the above-

entitled action from the Circuit Court of Fairfax County, Virginia to the United States District

Court for the Eastern District of Virginia, a copy of which Notice of Removal is served herewith,

was filed in the United States District Court for the Eastern District of Virginia.
    Case 1:24-cv-02099 Document 1-3 Filed 11/22/24 Page 3 of 3 PageID# 157




Dated: November 22, 2024                 Respectfully submitted,

                                          /s/ Micah E. Ticatch
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